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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )              CASE NO. 8:08CR355
                                             )
                    Plaintiff,               )
                                             )
             vs.                             )                   ORDER
                                             )
LESTINA BELTRAN,                             )
                                             )
                    Defendant.               )

       This matter is before the Court on the Defendant’s unopposed motion to continue

sentencing (Filing No. 82).

       IT IS ORDERED that the Defendant’s motion to continue sentencing (Filing No. 82)

is denied.

       DATED this 8th day of May, 2009.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge
